                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE


  ANDREW McKEVITZ,                                 )
                                                   )
                        Plaintiff                  )
                                                   )
  vs.                                              )           No.:    3:18-cv-00132
                                                   )                   REEVES/GUYTON
  SILVER CITY RESOURCES, INC.,                     )
                                                   )
                        Defendant(s)               )



                                    SCHEDULING ORDER


                1.     Introduction: This Scheduling Order is being entered pursuant to Fed. R.
 Civ. P. 16(b) and Local Rule 16.1(a). Any inquiries concerning the trial date should be directed
 to the Court’s chambers, by contacting the Court’s judicial assistant, Ms. Pam Simpson at (865)
 545-4255 or at Reeves_Chambers@tned.uscourts.gov, within seven (7) days of receipt of this
 order; otherwise, a motion for continuance must be filed. The schedule will not change except
 for good cause.


               2.      Electronic Filing:

               a.      The Court has implemented Electronic Case Filing, which allows counsel
                       to file and docket pleadings directly from their office via the internet and to
                       be served with filings from other parties and the Court via email.
                       Information on the ECF system is available on the Court’s website:
                       www.tned.uscourts.gov. Counsel who are not already registered users are
                       directed to register as soon as possible or be prepared to explain their failure
                       to do so. See E.D.TN LR 5.2(b).

               b.      Upon filing any pleading, including any dispositive motion, that exceeds
                       twenty-five (25) pages (including attachments), a courtesy hard copy shall
                       be mailed or hand delivered to chambers. Any documents over twenty-
                       five (25) pages should be bound (a 3-ring binder/notebook is sufficient)
                       and indexed. Such copy should be printed out after electronically filing
                       the pleading so that the copy will contain the ECF Header/Footer reflecting
                       the filed pleading information, i.e. case number, document number, filed
                       date, and page number.




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 1 of 7 PageID #: 80
            c.    Parties filing pleadings either electronically or manually on the day of a
                  hearing or trial should notify chambers and/or the courtroom deputy either
                  by e-mail or phone of the late filing.

            3.    Disclosure and Discovery:

            a.    Fed. R. Civ. P. 26(f) Meeting: The parties shall hold a discovery
                  planning meeting as required by Fed. R. Civ. P. Rule 26(f) within fifteen
                  (15) days of entry of this Order.

            b.    Discovery Plan: At the Rule 26(f) meeting, the parties shall, if they have
                  not already done so, develop a discovery plan and file it with the Court
                  within ten (10) days after this meeting. This discovery plan shall conform
                  to the provisions of Fed. R. Civ. P. 26(f).

            c.    Initial Disclosures: At the Rule 26(f) meeting or within ten (10) days
                  thereafter, the parties shall, if they have not already done so, make all disclo-
                  sures required by Rule 26(a)(1).

            d.    E-Discovery: At the Rule 26(f) meeting, counsel for the parties shall
                  confer and determine whether any party will likely be requested to disclose
                  or produce substantial information from electronic or computer based
                  media. If so, the parties are directed to determine: (i) whether disclosure
                  or production will be limited to data reasonably available to the parties in
                  the ordinary course of business, (ii) the anticipated scope, cost, and time
                  required for disclosure or production of data beyond what is reasonably
                  available to the parties in the ordinary course of business; (iii) the format
                  and media agreed to by the parties for the production of such data as well
                  as agreed procedures for such production; (iv) whether reasonable measures
                  have been taken to preserve potentially discoverable data from alteration or
                  destruction in the ordinary course of business or otherwise; (v) whether
                  there are other problems that the parties anticipate may arise in connection
                  with electronic or computer-based discovery; and (vi) the name of the
                  person responsible for each party’s document retention policies and the
                  name of the individual through which discovery requests and responses to
                  each party are to be made. It is expected the parties will confer and
                  cooperatively reach an agreement as to how e-discovery will be conducted
                  in this case.

            e.    Expert Testimony: Disclosure of any expert testimony in accordance
                  with Fed. R. Civ. P. 26(a)(2) shall be made on or before one hundred and
                  fifty (150) days before trial for plaintiff and one hundred and twenty (120)
                  days before trial for defendant. If the evidence is intended solely to
                  contradict or rebut evidence on the same subject matter identified by another

                                             2




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 2 of 7 PageID #: 81
                  party under Fed. R. Civ. P. 26(a)(2)(B), such disclosure shall be made
                  within thirty (30) days after the disclosure made by the other party. The
                  parties shall supplement these disclosures when required under subdivision
                  (e)(1). In the event that either party wishes to challenge the relevance or
                  the reliability of expert testimony, a motion for a Daubert hearing must be
                  filed not later than ninety (90) days before trial or they will be deemed
                  waived.

            f.    Evidence-Presentation Equipment: If one or more of the parties desire
                  to use the Court’s Digital Evidence Presentation System (DEPS) at trial or
                  for any pretrial hearing, or if any party intends to use any other electronic,
                  mechanical, or other equipment to display evidence at trial, notice must be
                  given to the Court’s courtroom deputy clerk, Ms. Angela Archer (865) 545-
                  4228, Ext. 4805, or at Angela_Archer@tned.uscourts.gov at least seven (7)
                  days before the pretrial conference (for trial) or before any pretrial hearing.

            g.    Pretrial Disclosures: On or before thirty (30) days before trial, the parties
                  shall make all pretrial disclosures specified in Fed. R. Civ. P. 26(a)(3),
                  except as to witnesses (see 6(f) below).

            h.    All Discovery: All discovery, including the taking of depositions for
                  evidence, shall be completed ninety (90) days before trial. (Motions to
                  compel must be filed at least thirty (30) days before this deadline).

            i.    Discovery Disputes:        Discovery disputes shall be resolved in the
                  following manner:

                  (1)    Parties shall first meet and/or confer in an attempt to resolve disputes
                         between themselves, without judicial intervention;

                  (2)    If the parties are unable to resolve such disputes informally, they
                         shall attempt to resolve their disagreement by conference with the
                         Magistrate Judge assigned to this case, which conference shall be by
                         telephone or in court, at the discretion of the Magistrate Judge, who
                         also shall have the discretion to make findings and enter an order on
                         the dispute; and

                  (3)    If, and only if, the parties’ dispute is unresolved following the
                         conference with the Magistrate Judge, the parties may file
                         appropriate written motions with the Court, which may be referred
                         to the Magistrate Judge. Any written motions regarding discovery
                         shall include a certification of compliance with steps one (1) and
                         two (2) above as well as the written certification required by Rule
                         37(a)(1), if applicable.

                                            3




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 3 of 7 PageID #: 82
                 4.     Status Report: The parties shall jointly file on the day of the discovery
 deadline a status report covering the following matters:

                a.      Whether discovery has been completed;

                b.      If any dispositive motions are pending, whether oral argument would be
                        beneficial to the Court and/or the parties, and, if so, explain the benefit;

                c.      Whether any party intends to file any further pretrial motions, including any
                        motions in limine, and if so, the anticipated subject matter of such motions;

                d.      Whether the case is to be tried jury or non-jury and the anticipated length of
                        trial;

                e.      The prospects for settlement of this matter, and whether the case has been
                        or will be submitted for mediation pursuant to Local Rule 16.4; and

                f.      Any other matter which you believe should be brought to the Court’s
                        attention.

                5.     Pretrial Order: Unless counsel are otherwise directed by the Court, the
 following shall govern with regard to the pretrial order in this particular case.

         Thirty (30) days before trial, an agreed pretrial order shall be filed. The order shall contain
 the following recitals:

                a.      Jurisdiction.

                b.      A statement that the pleadings are amended to conform to the pretrial order.

                c.      Short summary of plaintiff’s theory.

                d.      Short summary of defendant’s theory.

                e.      The issues to be submitted to the trial judge or jury.

                f.      Stipulations of fact.

                g.      Novel or unusual questions of law or evidence.

                h.      Estimated length of trial (in working days).

                i.      Possibility of settlement.


                                                     4




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 4 of 7 PageID #: 83
                j.      Miscellaneous matters that may contribute to the just, speedy, and
                        inexpensive determination of the case.

         Forty-five (45) days before trial (47 days if service by mail), plaintiff’s counsel shall serve
 opposing counsel with a proposed pretrial order containing the above items except for the theory
 of defendant. Within seven (7) days after receipt thereof, opposing counsel shall furnish
 plaintiff’s counsel with defendant’s theory and advise of any disagreement as to the issues or other
 matters in the proposed pretrial order. The parties shall make diligent, good faith efforts to
 reconcile any differences promptly and without the necessity of the Court's intercession. If the
 parties cannot agree on a pretrial order, plaintiff’s counsel shall notify the undersigned's office at
 least thirty-one (31) days before trial that the parties have, in a face-to-face conference, been
 unsuccessful, after a good faith effort, to agree upon a pretrial order. Thereafter, the undersigned
 may enter a pretrial order prior to or after the pretrial conference. Proposed amendments to a
 pretrial order entered ex parte by a judge or magistrate judge may be sought by motion filed five
 (5) days following entry of the order.

         The Clerk may provide counsel with a jury list containing names and personal information
 concerning prospective petit jurors (hereafter "the jury list"). Counsel and any other person
 provided with the jury list may not share the jury list or information therein except as necessary
 for purposes of jury selection. Following jury selection, counsel and any other person provided
 the jury list must return to the clerk the jury list and any copies made from the jury list or destroy
 them.

         Failure to file an agreed pretrial order or to notify the undersigned's office that one cannot
 be agreed upon as required herein may be deemed a failure to prosecute the action. See Rule
 41(b), Fed. R. Civ. P.

                6.      Other Scheduling Matters:

                a.      Amendment of Pleadings/Joinder of Parties: At least one hundred and
                        fifty (150) days before trial all motions for leave to amend the pleadings and
                        add parties must be filed.

                b.      Dispositive Motions: All dispositive motions under Fed. R. Civ. P. 12 and
                        all motions for summary judgment pursuant to Fed. R. Civ. P. 56 shall be
                        filed as soon as possible, but no later than one hundred fifty (150) days
                        before trial. The failure to timely file such motions will be grounds to
                        summarily deny them.

                c.      Mediation: The parties shall jointly file a report indicating their respective
                        positions regarding whether the dispute is a matter suitable for mediation,
                        as defined by Local Rule 16.4, one hundred fifty (150) days before trial.



                                                   5




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 5 of 7 PageID #: 84
            d.    Motions in Limine: All motions in limine must be filed no later than thirty
                  (30) days before trial. Such motions in limine will be addressed by the
                  Court at the final pretrial conference (see No. 7 below), unless the parties
                  are notified otherwise by the Court.

            e.    Special Requests to Instruct for Jury Trial: Pursuant to Local Rule
                  51.1, special requests for jury instructions shall be submitted to the Court
                  no later than thirty (30) days before trial and shall be supported by citations
                  of authority pursuant to Local Rule 7.4. There is reserved to counsel for
                  the respective parties the right to submit supplemental requests for
                  instructions during the course of the trial or at the conclusion of trial upon
                  matters that cannot be reasonably anticipated.

            f.    Exhibits: All anticipated exhibits will be labeled and numbered prior to
                  trial. At the inception of trial, counsel will furnish the Court with the
                  original and two (2) copies of their proposed exhibits. The parties are
                  directed to confer prior to the final pretrial conference as to the authenticity
                  and admissibility of exhibits and be prepared to discuss any objections at
                  the pretrial conference.

            g.    Witness Lists: Forty-five (45) days before trial, the parties shall file a final
                  witness list covering the information specified in Rule 26(a)(3), including
                  the designation of those witnesses whose testimony a party expects to
                  present by deposition. Within five (5) days after service of a final witness
                  list, such list may be supplemented.

            h.    Trial Briefs: At least fourteen (14) days before trial, the parties must file
                  trial briefs concerning any novel or unusual questions of law that have been
                  highlighted in the pretrial order.

            i.    Use of Depositions at Trial: In the event that a party files an objection
                  within the time specified by Rule 26(a) to the use under Rule 32(a) of a
                  deposition designated by another party under subparagraph (B) of Rule
                  26(a)(3), or any objection, together with the grounds therefor, that may be
                  made to the admissibility of materials identified under subparagraph (C) of
                  Rule 26(a)(3), and desires the Court to consider such objection or objections
                  to be in the nature of a motion in limine, such objections shall be
                  accompanied by a brief in support of such objection/motion in limine.
                  Should a hearing be directed by the Court regarding such motions in limine,
                  the parties shall be notified of the date and time thereof. Counsel are
                  reminded that objections not so disclosed, other than objections under Rules
                  402 and 403, Federal Rules of Evidence, shall be deemed waived unless
                  excused by the Court for good cause shown.


                                             6




Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 6 of 7 PageID #: 85
                 7.     Final Pretrial Conference: A final pretrial conference has not been
 scheduled at this time. Should the court determine that such a hearing is necessary, the parties
 will be notified by separate notice.

                 8.      Trial: The trial of this case will be held before the undersigned United
 States District Judge, with a jury, beginning on TUESDAY, SEPTEMBER 15, 2020 at 9:00 a.m.
 in Knoxville, Tennessee in Courtroom 3C. Counsel shall be present at 8:30 a.m. to take up any
 preliminary matters which may require the Court’s attention (unless directed otherwise). The
 parties shall be prepared to commence trial at 9:00 a.m. on the date which has been assigned.

                9.      Consent to Magistrate Judge: You are reminded that United States
 magistrate judges in this District have authority to try civil cases, both jury and nonjury, upon
 consent of the parties pursuant to 28 U.S.C. § 636(c). If you desire to have your case tried by
 consent by a magistrate judge, notify the Court’s judicial assistant, Ms. Pam Simpson at (865) 545-
 4255, or at Reeves_Chambers@tned.uscourts.gov.

 SHOULD THE SCHEDULED TRIAL DATE CHANGE FOR ANY REASON, THE
 OTHER DATES CONTAINED IN THIS ORDER SHALL REMAIN AS SCHEDULED.
 SHOULD THE PARTIES DESIRE A CHANGE IN ANY OF THE OTHER DATES, THEY
 SHOULD FILE A MOTION SUGGESTING ALTERNATE DATES AND SHOWING
 GOOD CAUSE IN ACCORDANCE WITH FED.R.CIV.P. 16(b)(4).

        IT IS SO ORDERED.

        Enter:

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                                                      PAMELA L. REEVES, CHIEF JUDGE JUDDGE
                                                      UNITED STATES DISTRICT COURT       R




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Case 3:18-cv-00132-PLR-HBG Document 16 Filed 06/21/19 Page 7 of 7 PageID #: 86
